                                                                                                                                                      Ex. 13
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                             for the
                                           WESTERN DISTRICT OF TEXAS AUSTIN DIVISION
HOMELAND INSURANCE COMPANY OF NEW
YORK                                                                          )
                               Plaintiff                                      )
                                  v.                                                   Civil Action No. 1:20-cv-00783-RP
                                                                              )
CLINICAL PATHOLOGY LABORATORIES, INC.,                                        )
et al.                                                                        )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To: Custodian of Records for Aon Risk Services Southwest, Inc.
     2711 N Haskell Avenue, Suite 800, Dallas, TX 75204-2932
                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
See Attachment A


  Place: Compass Process Servers c/o USA Legal Network                                  Date and Time:
  448 W. 19th Street, #151                                                              October 11, 2021 at 10:00 a.m.
  Houston, TX 77008; (888) 619-7499; (254) 220-4159

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 9, 2021

                                   CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature
                                                                                                  Jenna A. Fasone
 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Homeland Insurance Company of New York                                   , who issues or requests this subpoena, are:
John T. Brooks, Cal Bar No. 167793/Jenna A. Fasone, Cal Bar No. 308886, Sheppard, Mullin, Richter & Hampton, LLP;
501 West Broadway, 19th Floor; Tel: 619.338.6500; Email: jbrooks@sheppardmullin.com; jfasone@sheppardmullin.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                   American LegalNet, Inc.
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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

               I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                  ; or

               I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $

My fees are $                                 for travel and $                                   for services, for a total of $ 0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc.:




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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
  (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                 ATTACHMENT A

Exhibits:               1:   2016 SHUMPERT LETTER
                        2:   2016 VERO BULK CLAIM REPORT

                                 INSTRUCTIONS

    1. Pursuant to Federal Rule of Civil Procedure 45(c) this subpoena calls for
       documents that are known or available to you, including documents in your
       custody, possession, or control, and including documents maintained at a
       home or office, on a remote server, or on any personal or portable computer
       devices, such as mobile telephones.

    2. Each request seeks the requested documents or things in their entirety,
       including all attachments, as kept in the normal course of business.

    3. If any document responsive to these requests is electronically stored, then it
       must be produced, as single-page TIFF images created from native files
       (endorsed with bates numbers and the appropriate confidentiality legend, if
       any), with document text (OCR or extracted from native files to the extent
       available) in a separate TXT file, with file name corresponding to the file
       name of the TIFF image, together with the following extracted metadata
       from the native files: visible email headers; file system metadata to the
       extent available; and application metadata to the extent available.

    4. If any document or thing responsive to these requests has been destroyed,
       describe its contents, the location of any copies, the date such destruction
       took place, and the name of the person who ordered or authorized such
       destruction.

    5. This subpoena seeks all responsive documents to the categories outlined
       below, EXCEPT for documents YOU have already provided to
       HOMELAND as part of YOUR updates concerning the status of the ICC
       CLAIMS in the 2018 HOMELAND BULK CLAIM REPORT. Please do
       not reproduce those documents unless they are part of
       COMMUNICATIONS (with any PERSON aside from HOMELAND) that
       are responsive to the requests outlined below.


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                                     DEFINITIONS

1.       The terms “YOU” and “YOUR” refer to Aon PLC, Aon Risk Solutions, Aon
         Risk Services Southwest Inc., Aon Risk Services Central, Inc. and any of
         their related (parent or subsidiary) entities and anyone acting or purporting
         to act on their behalf including, but not limited to, employees, directors,
         officers, agents, insurance agents/brokers, or attorneys, which would include
         but is not limited to, Kathryn Shearman, Abby Bell, Kathryn Meyers, Emma
         Meyer, and Jakob Onken.

2.       The term “DOCUMENT(S)” means any handwriting, typewriting, printing,
         photostating, photograph, photocopy, electronic mail or facsimile, and any
         other “writings and recordings” defined in Rule 1001 of the Federal Rules of
         Evidence as “letters, words, or numbers, or their equivalent, set down by
         handwriting, typewriting, printing, photostating, photographing, magnetic
         impulse, mechanical or electronic recording, or other form of data
         compilation.”

3.       The term “COMMUNICATION(S)” means every manner or means of
         disclosure, transfer, or exchange of information, whether oral, electronic, by
         document, or otherwise, or whether face-to-face, in a meeting, by telephone
         mail, electronic mail, internet posting, personal delivery, or otherwise,
         including DOCUMENT(S) which evidence, discuss or reference such
         COMMUNICATION(S).

4.       The term “CONCERNING” means relating to, referring to, describing,
         evidencing or constituting.

5.       The term “PERSON” or “PERSONS” refers to a natural person, corporation,
         association, organization, partnership, firm, business, trust, or public entity.

6.       The term “CPL” means Clinical Pathology Laboratories, Inc. and anyone
         acting or purporting to act on its behalf including, but not limited to,
         employees, directors, officers, agents, insurance agents/brokers, or attorneys
         of CPL or its related (parent or subsidiary) entities, which would include, but
         is not limited to, Gordon Young, Stephen Shumpert, Dr. Colin Goldschmidt,



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         Christopher Wilks, Brian Madden, Karen Pruett, Nancy Stratton, and
         Sheridan Foster.

7.       The term “MEDLAB” means MedLab Pathology and anyone acting or
         purporting to act on its behalf including, but not limited to, employees,
         directors, officers, agents, insurance agents/brokers, or attorneys of
         MEDLAB or its related (parent or subsidiary) entities, which would include
         but is not limited to, Gordon Young, Stephen Shumpert, Dr. Colin
         Goldschmidt, Christopher Wilks, Brian Madden, Karen Pruett, Nancy
         Stratton, and Sheridan Foster.

8.       The term “SONIC” means Sonic Healthcare Limited and anyone acting or
         purporting to act on its behalf including, but not limited to, employees,
         directors, officers, agents, insurance agents/brokers, or attorneys of SONIC
         or its related (parent or subsidiary) entities, which would include but is not
         limited to, Gordon Young, Stephen Shumpert, Dr. Colin Goldschmidt,
         Christopher Wilks, Brian Madden, Karen Pruett, Nancy Stratton, and
         Sheridan Foster.

9.       The term “SONIC USA” means Sonic Healthcare USA, Inc. and anyone
         acting or purporting to act on its behalf including, but not limited to,
         employees, directors, officers, agents, insurance agents/brokers, or attorneys
         of SONIC USA or its related (parent or subsidiary) entities, which would
         include but is not limited to, Gordon Young, Stephen Shumpert, Dr. Colin
         Goldschmidt, Christopher Wilks, Brian Madden, Karen Pruett, Nancy
         Stratton, and Sheridan Foster.

10.      The term “SONIC IRELAND” means Sonic Healthcare (Ireland) Limited
         and anyone acting or purporting to act on its behalf including, but not
         limited to, employees, directors, officers, agents, insurance agents/brokers,
         or attorneys of SONIC IRELAND or its related (parent or subsidiary)
         entities, which would include but is not limited to, Gordon Young, Stephen
         Shumpert, Dr. Colin Goldschmidt, Christopher Wilks, Brian Madden, Karen
         Pruett, Nancy Stratton, and Sheridan Foster.

11.      The term “SONIC ENTITIES” refers to CPL, MEDLAB, SONIC, SONIC
         USA, and SONIC IRELAND.


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12.      The term “HOMELAND” refers to Homeland Insurance Company of New
         York and its affiliated companies including any of the OneBeacon entities
         (e.g., OneBeacon Healthcare Group, OneBeacon Insurance Group LLC,
         OneBeacon Insurance Group, Ltd., Atlantic Specialty Insurance Co.), and
         anyone acting on their behalf, including employees, underwriters, claims
         handlers and attorneys.

13.      The term “VERO” refers to Vero Insurance Limited, AAI Limited ABN 48
         005 297 807 trading as Vero Insurance, and their related (parent or
         subsidiary) or affiliated entities, and anyone acting or purporting to act on
         their behalf including, but not limited to, employees, directors, officers,
         agents, insurance agents/brokers, or attorneys of VERO or its related (parent
         or subsidiary) or affiliated entities.

14.      The term “ZURICH” refers to Zurich American Insurance Company and its
         related (parent or subsidiary) or affiliated entities, and anyone acting or
         purporting to act on their behalf including, but not limited to, employees,
         directors, officers, agents, insurance agents/brokers, or attorneys of ZURICH
         or its related (parent or subsidiary) or affiliated entities.

15.      The term “BEAZLEY” refers to Beazley Holdings, Inc., Beazley Insurance
         Company, Beazley America Insurance Company, Inc. and their related
         (parent or subsidiary) or affiliated entities, and anyone acting or purporting
         to act on their behalf including, but not limited to, employees, directors,
         officers, agents, insurance agents/brokers, or attorneys of BEAZLEY or its
         related (parent or subsidiary) or affiliated entities.

16.      The term “INSURERS” refers to VERO, ZURICH, and BEAZLEY.

17.      The term “GERMER” refers to the law firm Germer PLLC, and anyone
         acting or purporting to act on its behalf including, but not limited to,
         employees, directors, officers, members, partners, agents, attorneys, or staff
         of GERMER.

18.      The term “WILLIAM FRY” refers to the law firm William Fry LLP, and
         anyone acting or purporting to act on its behalf including, but not limited to,


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         employees, directors, officers, members, partners, agents, attorneys, or staff
         of WILLIAM FRY.

19.      The term “HAYNES BOONE” refers to the law firm Haynes and Boone,
         LLP, and anyone acting or purporting to act on its behalf including, but not
         limited to, employees, directors, officers, members, partners, agents,
         attorneys, or staff of HAYNES BOONE.

20.      The term “BLM” refers to the law firm Berrymans Lace Mawer LLP (with
         trading name BLM) and its affiliate Berrymans Lace Mawer, Ireland, and
         anyone acting or purporting to act on their behalf including, but not limited
         to, employees, directors, officers, members, partners, agents, attorneys, or
         staff of BLM.

21.      The term “LAW FIRMS” refers to GERMER, WILLIAM FRY, HAYNES
         BOONE, and BLM.

22.      The term “NCSS” refers to Ireland’s National Cancer Screening Service
         established by Ireland’s Minister for Health and Children in January 2007
         and its successor, Ireland’s National Screening Service.

23.      The term “IRISH CERVICALCHECK PROGRAM” refers to Ireland’s
         NCSS program that provides cervical cancer screening to all women and
         people with a cervix aged 25 to 65 who live in Ireland.

24.      The term “CAR PROGRAM” refers to the IRISH CERVICALCHECK
         PROGRAM’s clinical cancer audit process initiated in or around 2010 as
         part of the quality assurance framework of the program wherein an
         individual who has developed cancer will have their screening history
         reviewed in a systematic way.

25.      The term “             CLAIM” refers to the ICC CLAIM made by, on behalf
         of, and/or by relatives of,               .

26.      The term “            CLAIM” refers to the ICC CLAIM made by, on behalf
         of, and/or by relatives of,           .



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27.      The term “           CLAIM” refers to the ICC CLAIM made by, on behalf
         of, and/or by relatives of,             .

28.      The term “              CLAIM” refers to the ICC CLAIM made by, on
         behalf of, and/or by relatives of,                     .

29.      The term “          CLAIM” refers to the ICC CLAIM made by, on behalf
         of, and/or by relatives of,           .

30.      The term “ICC CLAIM(S)” refers to the actual, potential and/or threatened
         claim(s) relating to the IRISH CERVICALCHECK PROGRAM brought or
         made against the SONIC ENTITIES, including but not limited to, the
                    CLAIM, the            CLAIM, the            CLAIM, the
                      CLAIM, and the         CLAIM.

31.      The term “2016 SHUMPERT LETTER” refers to the letter from Stephen R.
         Shumpert, then-President of CPL, addressed to OneBeacon Insurance
         Group, that is dated July 27, 2016, attached hereto as EXHIBIT 1, including
         any drafts of that letter.

32.      The term “2016-17 POLICIES” refers to Medical Facilities and Providers
         Professional Liability Insurance Policy No. MFL-004062-0616 (the “2016-
         17 PRIMARY POLICY”) and Excess Medical Facilities Liability Insurance
         Policy No. MFX-002013-0616 (the “2016-17 EXCESS POLICY”), both of
         which Homeland issued to Sonic Healthcare Investments, G.P., and several
         additional insureds, including CPL, for the policy period of June 30, 2016 to
         June 30, 2017.

33.      The term “2017-18 POLICIES” refers to Medical Facilities and Providers
         Professional Liability Insurance Policy No. MFL-004062-0617 (the “2017-
         18 PRIMARY POLICY”) and Excess Medical Facilities Liability Insurance
         Policy No. MFX-002013-0617 (the “2017-18 EXCESS POLICY”), both of
         which Homeland issued to Sonic Healthcare Investments, G.P., and several
         additional insureds, including CPL, for the policy period of June 30, 2017 to
         June 30, 2018.




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34.      The term “WORLDWIDE TERRITORY ENDORSEMENT” refers to
         Endorsement No. 12 to the 2016-17 PRIMARY POLICY and No. 13 to the
         2017-18 PRIMARY POLICY.

35.      The term “RATE STABILIZATION ENDORSEMENT” refers to
         Endorsement No. 11 to the 2016-17 PRIMARY POLICY and Nos. 12 and
         15 to the 2017-18 PRIMARY POLICY.

36.      The term “ADDITIONAL NAMED INSURED ENDORSEMENT” refers to
         Endorsement Nos. 5 and 15 to the 2016-17 PRIMARY POLICY and Nos. 3,
         22 and 24 to the 2017-18 PRIMARY POLICY.

37.      The term “PRIOR KNOWLEDGE ENDORSEMENT” refers to
         Endorsement No. 2 to the 2016-17 PRIMARY POLICY and Nos. 1 and 19
         to the 2017-18 PRIMARY POLICY.

38.      The term “2016 VERO BULK CLAIM REPORT” refers to the March 23,
         2016 email string attached hereto as EXHIBIT 2 including that email’s
         attached spreadsheet with information concerning 58 patients noticed to
         VERO by MEDLAB.

39.      The term “MEDLAB PATHOLOGY INCIDENT REPORT” refers to the
         MedLab Pathology Incident Report from February 26, 2016 as discussed in
         the March 17, 2016 email attached hereto in EXHIBIT 2, including any
         updates to that report.

40.      The term “2018 HOMELAND BULK CLAIM REPORT” refers to the May
         15, 2018 bulk notice to HOMELAND by CPL and/or the SONIC ENTITIES
         concerning certain ICC CLAIMS.




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                        DOCUMENTS TO BE PRODUCED

1.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the IRISH
         CERVICALCHECK PROGRAM.

2.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS), CONCERNING the CAR
         PROGRAM.

3.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, and the LAW FIRMS) CONCERNING the NCSS.

4.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING insurance
         coverage for the ICC CLAIMS.

5.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the ICC
         CLAIMS (including but not limited to the noticing or tendering of any ICC
         CLAIMS to the INSURERS).

6.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the 2016
         SHUMPERT LETTER (including but not limited to, the procurement of the
         2016 SHUMPERT LETTER and any drafts of the same).

7.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON, (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the 2016-



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         2017 POLICIES (including but not limited to, the procurement of the 2016-
         2017 POLICIES).

8.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the 2017-
         2018 POLICIES (including but not limited to, the procurement of the 2017-
         2018 POLICIES).

9.       All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the
         WORLDWIDE TERRITORY ENDORSEMENT (including but not limited
         to, the procurement of the WORLDWIDE TERRITORY
         ENDORSEMENT).

10.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the RATE
         STABILIZATION ENDORSEMENT (including but not limited to, the
         procurement of the RATE STABILIZATION ENDORSEMENT).

11.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the
         ADDITIONAL NAMED INSURED ENDORSEMENT (including but not
         limited to, the procurement of the ADDITIONAL NAMED INSURED
         ENDORSEMENT).

12.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the PRIOR
         KNOWLEDGE ENDORSEMENT (including but not limited to, the
         procurement of the PRIOR KNOWLEDGE ENDORSEMENT).

13.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the


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Case No. 1:20-cv-00783-RP

         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the Prior
         Notice Exclusion (D)2 in the 2016-2017 POLICIES and the 2017-2018
         POLICIES .

14.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING Condition
         (R) Representation; Incorporation of Application, in the 2016-2017
         POLICIES and the 2017-2018 POLICIES.

15.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the 2016
         VERO BULK CLAIM REPORT.

16.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the
         MEDLAB PATHOLOGY INCIDENT REPORT.

17.      All DOCUMENTS and COMMUNICATIONS between or among YOU and
         any PERSON (including, but not limited to, the SONIC ENTITIES, the
         INSURERS, the LAW FIRMS, and the NCSS) CONCERNING the 2018
         HOMELAND BULK CLAIM REPORT, except for DOCUMENTS that
         YOU have already provided to HOMELAND.

18.      All COMMUNICATIONS between YOU and HOMELAND
         CONCERNING the 2016 SHUMPERT LETTER, the WORLDWIDE
         TERRITORY ENDORSEMENT, the RATE STABILIZATION
         ENDORSEMENT, the ADDITIONAL NAMED INSURED
         ENDORSEMENT, or procurement of insurance coverage for the ICC
         CLAIMS.

19.      All DOCUMENTS (including, but not limited to, COMMUNICATIONS
         between or among YOU and any of the SONIC ENTITIES) discussing the
         possibility that specific persons, or persons in general, might bring claims



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                                                                                    Ex. 13
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Case No. 1:20-cv-00783-RP

         against any of the SONIC ENTITIES related to the IRISH
         CERVICALCHECK PROGRAM.

20.      The earliest COMMUNICATION between or among YOU and any of the
         SONIC ENTITIES discussing the possibility that specific persons, or
         persons in general, might bring claims against any of the SONIC ENTITIES
         related to the IRISH CERVICALCHECK PROGRAM subsequent to the
                     CLAIM.




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                                                                                                           Ex. 13



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF
NEW YORK,                                             CIVIL ACTION NO. 1:20-cv-783
                  Plaintiff,

v.

CLINICAL PATHOLOGY
LABORATORIES, INC. SONIC
HEALTHCARE USA, INC., MEDLAB
PATHOLOGY, SONIC HEALTHCARE
(IRELAND) LIMITED, AND SONIC
HEALTHCARE LIMITED.

                  Defendants.



                                       PROOF OF SERVICE


         I, the undersigned, declare under penalty of perjury that I am, and was at the time of service
of the papers herein referred to, over the age of eighteen years and not a party to the action; and I am

employed in the County of San Diego, State of California, in which county the within-mentioned

service occurred. My business address is 501 West Broadway, 19th Floor, San Diego, California

92101.

         On September 9, 2021, I served a copy of the following document(s):

  SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
  PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION TO THE CUSTODIAN
    OF RECORDS FOR AON RISK SERVICES SOUTHWEST, INC. (DALLAS, TX)

        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the document(s)
         to be sent from nlautzenheiser@sheppardmullin.com to the persons at the e-mail addresses
         listed in the Service List. The document(s) were transmitted and I did not receive, within a
         reasonable time after the transmission, any electronic message or other indication that the
         transmission was unsuccessful.

        BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
         persons at the addresses listed in the Service List and placed the envelope for collection and
         mailing, following our ordinary business practices. I am readily familiar with the firm's
         practice for collecting and processing correspondence for mailing. On the same day that the



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                                                                                                          Ex. 13



         correspondence is placed for collection and mailing, it is deposited in the ordinary course of
         business with the United States Postal Service, in a sealed envelope with postage fully
         prepaid.

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         I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

         Executed on September 9, 2021, at San Diego, California.




                                                                   Nicole Lautzenheiser




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